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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )     CASE NO. 8:11CR287
                                                        )
                       Plaintiff,                       )
                                                        )
       vs.                                              )
                                                        )     PRELIMINARY ORDER
THOMAS E. JOHNSON,                                      )     OF FORFEITURE
ANTHONY JOHNSON,                                        )
                                                        )
                       Defendants.                      )

       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 196). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts II and IV, respectively, and the Forfeiture Allegation of said Superseding

Indictment. Count II charged Defendant Thomas E. Johnson with possession with intent to

distribute crack cocaine, in violation of 21 U.S.C. '' 841(a)(1) and (b)(1). Count IV charged

Defendant Anthony Johnson with distributing crack cocaine, in violation of 21 U.S.C. ''

841(a)(1) and (b)(1). The Forfeiture Allegation seeks the forfeiture, under 21 U.S.C. ' 853, of

$558.00 and $831.00 in United States currency on the basis the currency was used or was intended

to be used to facilitate said controlled substance violation and/or was derived from proceeds

obtained directly or indirectly as a result of the commission of said controlled substance violations.

       2. By virtue of said plea of guilty, the Defendants forfeit their interests in the subject

currency, and the United States should be entitled to possession of said currency, pursuant to

21 U.S.C. ' 853.



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       3. The United States= Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED:

       A. The United States= Motion for Issuance of Preliminary Order of Forfeiture (Filing No.

196) is hereby sustained.

       B.    Based upon the Forfeiture Allegation of the Superseding Indictment and the

Defendants= pleas of guilty, the United States is hereby authorized to seize the $558.00 and

$831.00 in United States currency.

       C. The Defendants= interests in the $558.00 and $831.00 in United States currency is

hereby forfeited to the United States for disposition in accordance with the law, subject to the

provisions of 21 U.S.C. ' 853(n)(1).

       D. The aforementioned currency is to be held by the United States in its secure custody and

control.

       E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site (www.forfeiture.gov)

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

currency in such manner as the Attorney General may direct, and notice that any person, other than

the Defendants, having or claiming a legal interest in any of the subject currency must file a

Petition with the court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s alleged interest in the currency, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

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Petitioner=s right, title or interest in the subject currency and any additional facts supporting the

Petitioner=s claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in the currency subject to this Order as a substitute

for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       DATED this 22nd day of May, 2012.

                                                        BY THE COURT:


                                                        s/Laurie Smith Camp
                                                        Chief United States District Court




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